
















In The


Court of Appeals


Sixth Appellate District of Texas at Texarkana



______________________________



No. 06-02-00129-CV


______________________________




SANDRA MILLER, Appellant



V.



ESTATE OF JOHN C. SELF, Appellee




                                              


On Appeal from the 202nd Judicial District Court


Bowie County, Texas


Trial Court No. 00C1653-202




                                                 




Before Morriss, C.J., Ross and Carter, JJ.


Opinion by Justice Ross



O P I N I O N



	Sandra Miller and John C. Self were involved in an automobile accident near the
intersection of Jefferson Avenue and Interstate 30 in Texarkana, Arkansas.  On
November&nbsp;13, 2000, Miller filed suit against Phase One Concrete and Self in Bowie
County, Texas.  Phase One Concrete is a Texas business and is the owner of the truck
Self was driving at the time of the accident.  On August 13, 2001, the trial court granted
summary judgment in favor of Phase One Concrete. 

	Before the lawsuit was filed, Self died from causes unrelated to the accident.  On
December 5, 2001, Miller filed an amended petition naming the Estate of John C. Self as
the defendant.  The amended petition was served on David Carter, who was the temporary
administrator of Self's estate.  After a jury trial June 4, 2002, a verdict of $125,000.00 was
returned in favor of Miller.  

	On June 7, 2002, the Estate of Self filed a motion to dismiss for lack of jurisdiction,
alleging the temporary administrator should have been sued, not just the estate.  The trial
court granted the motion to dismiss July 9, 2002.  Miller brought this appeal, alleging four
points of error:  (1) the trial court erred in granting the Estate of Self's motion to dismiss
because it failed to plead by verified pleading under Tex. R. Civ. P. 93 there was a defect
in the parties; (2) the trial court erred in granting the Estate of Self's motion to dismiss
because the actual representative of the estate participated in this action; (3) the trial court
erred by not granting Miller's motion to file a trial amendment; and (4) the trial court erred
in granting the Estate of Self's motion to dismiss because the estate was served with
disclosure requests in the name of John C. Self, yet it failed to bring the pleading defect
to the attention of the plaintiff.  

	It has long been settled that the "estate" of a decedent is not a legal entity and may
not sue or be sued as such.  Price v. Estate of Anderson, 522 S.W.2d 690, 691 (Tex.
1975).  A suit seeking to establish the liability of an estate should be filed against the
personal representative or, in certain circumstances, the heirs or beneficiaries.  Id.  Miller
maintains, however, the Estate of Self waived this issue because the estate failed to plead
by verified pleading under Tex. R. Civ. P. 93 that there was a defect in the parties.  Rule&nbsp;93
requires certain pleadings to be verified by affidavit, including claims (1) that the plaintiff
has not legal capacity to sue or that the defendant has not legal capacity to be sued; (2)
that the plaintiff is not entitled to recover in the capacity in which he or she sues, or that the
defendant is not liable in the capacity in which he or she is sued; and (3) that there is a
defect of parties, plaintiff or defendant.  Tex. R. Civ. P. 93(1), (2), (4). 


	In Estate of C.M. v. S.G., 937 S.W.2d 8, 10 (Tex. App.-Houston [14th Dist.] 1996,
no writ), the Houston court held not naming the personal representative of an estate in a
lawsuit was a matter of fundamental jurisdiction that cannot be waived.  The analysis in
Estate of C.M. was based on the Texas Supreme Court case of Henson v. Estate of Crow,
734 S.W.2d 648, 649 (Tex. 1987), which concluded that, when no legal entity is named in
a suit, there is no one to except to the pleadings or waive any defect therein.

	In Henson, the plaintiff sued the defendant for rental payments due under an oral
lease.  Id.  The defendant died shortly before the trial.  Id.  Henson amended his petition
and named the Estate of Bruce L. Crow as the defendant.  Id.  The trial was had on those
pleadings.  Id.  The Texas Supreme Court concluded that the dispositive issue of the case
was whether the trial court was correct in holding the Estate of Bruce L. Crow was not a
legal entity and could not be sued as such.  Id.  The court affirmed the trial court's decision. 
Id.  Like the case before us today, Henson argued the Estate of Crow had waived the error
by failing to except to the defect in Henson's pleadings.  Id.  The Texas Supreme Court
rejected that argument, saying, "This merely begs the question.  Inasmuch as no legal
entity was named as a defendant, there was no one to except to the pleadings or waive
any defect therein."  Id.  


	The reasoning of the Texas Supreme Court in Henson is controlling over Miller's first
point of error.  The Estate of Self is not a legal entity.  Because no legal entity had been
named as defendant in the suit, there was no one to except to Miller's pleadings or to
waive any defect found within them.  Miller's first point of error is overruled.

	Miller also contends the trial court erred in granting the motion to dismiss because
the personal representative of the estate participated in this action.  As discussed above,
a suit seeking to establish the liability of an estate should be filed against the personal
representative of the estate because the estate itself is not a legal entity and may not be
sued as such.  In fact, a court's jurisdiction over an indispensable party is as essential to
the court's right and power to proceed to judgment as is jurisdiction of the subject matter. 
Dueitt v. Dueitt, 802 S.W.2d 859, 861 (Tex. App.-Houston [1st Dist.] 1991, no writ).   

	However, in those instances where the suit names the estate, rather than the
personal representative of that estate, the trial court will be vested with jurisdiction if the
personal representative is served with citation and participates in the suit in his or her
capacity as the personal representative of the estate.  In re Fairfield Fin. Group, Inc., 29
S.W.3d 911, 914-15 (Tex. App.-Beaumont 2000, orig. proceeding).  In such
circumstances, the resulting judgment will be valid even if it names the estate rather than
the personal representative in his or her official capacity.  Id. at 915.  In this case, there is
no dispute as to whether David Carter, the personal representative, was served.  The
dispositive issue is whether he participated in the lawsuit.

	In Bernstein v. Portland Sav. &amp; Loan Ass'n, 850 S.W.2d 694, 700 (Tex.
App.-Corpus Christi 1993, writ denied), the court concluded the personal representative
participated in the lawsuit by filing a motion for sanctions "individually and as Personal
Representative of the Estate," by filing a supplemental memorandum in support of that
motion, and by later filing motions and amended answers on behalf of the personal
representative and the estate.  In Price, 522 S.W.2d at 692, the personal representative
participated by "answer[ing] for the 'estate' and participat[ing] in all proceedings affecting
the case."  In Dueitt, 802 S.W.2d at 861, the personal representative participated when he
verified under oath the allegations of the plaintiff's petition and plaintiff's response to the
defendant's motion for summary judgment.  The court concluded the personal
representative's actions constituted an adoption of the plaintiff's position in the suit.  Id.   

	In contrast, the court in Supak v. Zboril, 56 S.W.3d 785, 794 (Tex. App.-Houston
[14th Dist.] 2001, no pet.), determined the personal representative had not participated in
the lawsuit even though he was present at the trial and was introduced to the jury as the
representative of the estate.  Additionally, the court in Henson, 734 S.W.2d at 649, found
nothing in the record to indicate the attorney of the estate also represented the personal
representative and found nothing else that could be construed as participation by the
personal representative, who made no appearance in the case. 


	As there is no dispute that Carter was served in this case, what we must determine
is whether he participated in this lawsuit.  No one disputes Carter did not attend the trial
in this case.  Carter did attend the hearing on the motion to dismiss, where he testified as
a fact witness as to his involvement in the case.  According to Carter's testimony, after he
was served, he faxed the papers to the defense attorney in the lawsuit and requested that
an answer be filed.  Carter testified he later telephoned the defense attorney to verify that
an answer had been filed.  Although the record reflects an answer was filed, it appears it
was filed only on behalf of the estate, without any mention of the personal representative. (1) 

	Carter was served in this lawsuit; however, there is no indication in the record that
Carter participated in this lawsuit.  He did not attend the trial in this case, and no
documents were filed either by him or on his behalf in this case.  Because Carter did not
participate, this point of error is overruled.

	Miller next contends it was error for the trial court not to grant his motion to file a trial
amendment.  Texas Rule of Civil Procedure 66 allows the trial court to permit the pleadings
to be amended:

		If evidence is objected to at the trial on the ground that it is not within
the issues made by the pleading, or if during the trial any defect, fault or
omission in a pleading, either of form or substance, is called to the attention
of the court, the court may allow the pleadings to be amended and shall do
so freely when the presentation of the merits of the action will be subserved
thereby and the objecting party fails to satisfy the court that the allowance of
such amendment would prejudice him in maintaining his action or defense
upon the merits.  The court may grant a postponement to enable the
objecting party to meet such evidence.


Tex. R. Civ. P. 66.  A party may amend its pleadings after the verdict but before the
judgment.  Greenhalgh v. Serv. Lloyds Ins. Co., 787 S.W.2d 938, 940 (Tex. 1990). 
According to Miller, a trial amendment must be allowed in this case unless the Estate of
Self was able to prove that such would cause it prejudice or surprise.  See id.  Miller
contends this was a simple case, one that only involved three witnesses.  She urges that
the trial and the witnesses will be the same "[i]rrespective of what the Defendant is called
in this case."  Miller contends it would be only a waste of judicial economy to try this case
again.

	The Estate of Self contends the issue is much more basic.  The Estate of Self urges
us to recognize judicial economy is not the issue in the case because judicial economy
cannot confer jurisdiction to a court.  See Burns v. Burns, 2 S.W.3d 339, 345 n.6 (Tex.
App.-San Antonio 1999, no pet.).  Without jurisdiction, a trial court lacks the power to
decide either a question of law or fact.  See Smith Detective Agency &amp; Nightwatch Serv.,
Inc. v. Stanley Smith Sec., Inc., 938 S.W.2d 743, 747 (Tex. App.-Dallas 1996, writ denied). 

	The only way the trial court could have jurisdiction over this case is if we determine
Carter, the personal representative of the estate, participated in this case.  Without his
participation in the lawsuit, the trial court did not have jurisdiction over this case; and,
without jurisdiction, the trial court did not have power to grant a trial amendment.  Because
we have held Carter did not participate in this lawsuit, this point of error is overruled.  

	As her last point of error, Miller contends the trial court erred in granting the
defendant's motion to dismiss because the defendant was served with disclosure requests
in the name of John C. Self, yet failed to bring the pleading defect to the attention of the
plaintiff.  Miller contends "[t]he disclosures which were forwarded to this Defendant
specifically asked if additional parties needed to be added."  She contends that, because
the Estate of Self did not mention the personal representative in response to the disclosure
requests, the estate has waived the issue.  The logic of Henson, as discussed in Miller's
first point of error, can also be applied to whether the Estate of Self can waive the issue
by failing to disclose the personal representative as an additional party.  Because no legal
entity had been named as defendant in the suit, just like there was no one to except to
Miller's pleadings or to waive any defect found within them, there was no one there to
disclose additional parties.  This point of error is overruled.


	We affirm the judgment of dismissal.        



							Donald R. Ross

							Justice

	


Date Submitted:	July 16, 2003

Date Decided:	July 23, 2003

1. The answer is styled Sandra Miller vs. The Estate of John Self and reads, "COMES
NOW Defendant, The Estate of John Self ("Estate")."  Additionally, "Defendant Estate" is
referenced throughout the answer, while there is no mention of the personal representative
within the answer filed. 


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of Appeals

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Sixth
Appellate District of Texas at Texarkana

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Appellant

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Court No. 22230

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Carter and Moseley, JJ.

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; MEMORANDUM&nbsp;
OPINION

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Based
on Kay Angela Douthitts December 9, 2008,
plea of guilty to one count of possession of methamphetamine with intent to
deliver, and another count of delivery of methamphetamine (both in amounts of
more than four, but less than two hundred grams), her adjudication of guilt was
deferred and she was placed on community supervision for ten years.&nbsp; On December 21, 2009, the State moved to
proceed with an adjudication of guilt on the allegation that she had admitted
to the use of methamphetamine in violation of the terms of her community
supervision.&nbsp; Her guilt was adjudicated
on both counts January 14, 2010, and she was sentenced to fifteen years
incarceration on both counts, to be served concurrently. &nbsp;On her appeal from this, Douthitt alleges: &nbsp;(1) that the evidence was legally and
factually insufficient to support the trial courts decision to adjudicate
guilt; (2) that the condition of community supervision that she refrain from injurious
or vicious habits was vague and ambiguous; (3) that the trial court erred in
several respects in its refusal to exclude a December 18, 2009, written
statement in which Douthitt admitted violating a term of community supervision
by using methamphetamine; and (4) that her counsel rendered ineffective
assistance.&nbsp; We will affirm the trial
courts judgment.&nbsp; 

I.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Legally and Factually
Sufficient Evidence Supported the Trial Courts Judgment

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Douthitt
signed two statements, one on October 13, 2009, and another on December 18,
2009, stating she used methamphetamine while on community supervision.&nbsp; Based on these written statements, the State
filed a motion to adjudicate guilt on the underlying offenses.&nbsp; In open court, Douthitt admitted she used
methamphetamine on or about October 9:

The Court: &nbsp;&nbsp;&nbsp;&nbsp; The
allegations in the Motion?&nbsp; The
allegations are that you violated Condition Two, that you used methamphetamine
on or about October 9, 2009?

&nbsp;

[Douthitt]: &nbsp;&nbsp;&nbsp;&nbsp; Yes,
sir, that one is true.&nbsp; That one is
true.&nbsp; And I know I do have a problem. 

&nbsp;

However, while not challenging
the veracity of the October 13 statement, Douthitt recanted the admission of
drug use contained in her December written statement, saying that it was false;
she explained that her sole reason for signing it was because of fear to do
otherwise.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The
determination of an adjudication of guilt is reviewable in the same manner as
that used to determine whether sufficient evidence supported the trial courts
decision to revoke community supervision.&nbsp;
See Tex. Code Crim. Proc. Ann. art. 42.12, § 5(b) (Vernon Supp.
2009).&nbsp; While the decision to revoke
community supervision rests within the discretion of the trial court, it is not
absolute.&nbsp; In re T.R.S., 115 S.W.3d 318, 320 (Tex. App.Texarkana 2003, no
pet.).&nbsp; To revoke community supervision,
the State must prove every element of at least one ground for revocation by a
preponderance of the evidence.&nbsp; Tex. Code Crim. Proc. Ann. art. 42.12,
§ 10 (Vernon Supp. 2009); T.R.S., 115
S.W.3d at 320; Johnson v. State, 943
S.W.2d 83, 85 (Tex. App.Houston [1st Dist.] 1997, no pet.).&nbsp; Preponderance of the evidence has been
defined as the greater weight and degree of credible testimony.&nbsp; T.R.S.,
115 S.W.3d at 320.&nbsp; In other words, if
the greater weight of credible evidence in this case created a reasonable
belief that Douthitt violated a condition of community supervision, the
standard was met.&nbsp; Id. at 321 (citing Martin v.
State, 623 S.W.2d 391, 393 n.5 (Tex. Crim. App. [Panel Op.] 1981)).&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; In
a revocation hearing, the trial judge is the sole trier of the facts and
determines the credibility of the witnesses and the weight to be given to the
testimony.&nbsp; T.R.S., 115 S.W.3d at 321; Lee
v. State, 952 S.W.2d 894, 897 (Tex. App.Dallas 1997, no pet.); Johnson, 943 S.W.2d at 85.&nbsp; Considering the unique nature of a revocation
hearing and the trial courts broad discretion in the proceedings, the general
standards for reviewing factual sufficiency do not apply. &nbsp;Pierce
v. State, 113 S.W.3d 431, 436 (Tex. App.Texarkana 2003, pet. refd).&nbsp; Instead, we review the trial courts decision
regarding community supervision revocation for an abuse of discretion and
examine the evidence in a light most favorable to the trial courts order.&nbsp; Id.
(citing Garrett v. State, 619 S.W.2d
172, 174 (Tex. Crim. App. 1981)); see
T.R.S., 115 S.W.3d at 321.&nbsp; Thus, if the greater weight of credible
evidence creates a reasonable belief a defendant has violated a condition of
his community supervision, the trial courts determination to revoke is not an abuse
of discretion and its order of revocation must be upheld.&nbsp; Pierce,
113 S.W.3d at 436 (citing Scamardo v.
State, 517 S.W.2d 293, 298 (Tex. Crim. App. 1974)).&nbsp; If the States proof is sufficient to prove
any one of the alleged community supervision violations, the revocation should
be affirmed.&nbsp; T.R.S., 115 S.W.3d at 321 (citing Stevens v. State, 900 S.W.2d 348, 351 (Tex. App.Texarkana 1995,
pet. refd)).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; While
the record contained Douthitts clear admission of methamphetamine use during
her community supervision, the initial reporters record received by this Court
did not include the terms of Douthitts community supervision.&nbsp; Based on this omission, Douthitt argued as
the terms and conditions of the Appellants probation do not appear in the
record, there is no evidence to show what the terms were.&nbsp; Therefore, there is no evidence to demonstrate
that Appellant violated the same.&nbsp; A
supplemental reporters record clarifies that condition two of Douthitts
community supervision mandated that she [a]void injurious or vicious habits
(including the abuse of narcotic or habit forming drugs and alcoholic
beverages).&nbsp; Because this condition of
Douthitts community supervision is contained within the record, and Douthitt
testified that she violated those terms in October 2009, we conclude the
evidence was legally and factually sufficient for the trial court to proceed to
adjudication of Douthitts guilt on the underlying offenses.&nbsp; We overrule this point of error.&nbsp; 

II.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Challenge to
Admissibility of One of the Two Out-of-Court Statements

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; In
four points of error, Douthitt challenges the admissibility of the December
written statement signed by her in which she admits one incident of the use of
methamphetamine while on community supervision.&nbsp;
The bases of her challenge are: &nbsp;(1)
that the trial court failed to hold a hearing to determine the voluntariness of
the statement before it was admitted into evidence; (2)&nbsp;that the statement
was obtained in violation of Sections 2 and 6 of Article 38.22 of the Texas
Code of Criminal Procedure; (3) that the mandatory prerequisite Miranda[1]
warning was not provided Douthitt before the statement was given; and (4) that
the statement was obtained in violation of the Fifth and Fourteenth Amendments
to the United States Constitution. 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; In
the hearing on the motion to impose sentence, after Douthitt authenticated the
document of which she now complains, her counsel objected to admission of the
December written statement in that she says she was in fear whenever -- at the
time that she was required -- requested to sign that.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Douthitt
cites Article 38.22 of the Texas Code of Criminal Procedure and related cases,
which require that a statement made by an accused as a result of custodial
interrogation be knowingly and voluntarily made.&nbsp; Tex.
Code Crim. Proc. Ann. art. 38.22, § 2(b) (Vernon 2005).&nbsp; However, statements made to community
supervision officers while not under arrest are not generally subject to the
requirements of Article 38.22.&nbsp; Bustamante v. State, 493 S.W.2d 921, 922
(Tex. Crim. App. 1973); Kirven v. State,
492 S.W.2d 468, 469 (Tex. Crim. App. 1973) (interview with community
supervision officer not custodial); Cunningham
v. State, 488 S.W.2d 117, 120 (Tex. Crim. App. 1972); Holmes v. State, 752 S.W.2d 700, 70001 (Tex. App.Waco 1988, no
pet.). 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; A
person is in custody when, under the circumstances, a reasonable person would
believe that his freedom of movement was restrained to the degree associated
with a formal arrest. Herrera v. State,
241 S.W.3d 520, 525 (Tex. Crim. App. 2007) (quoting Dowthitt v. State, 931 S.W.2d 244, 254 (Tex. Crim. App. 1996)).&nbsp; The Texas Court of Criminal Appeals has
identified four general situations that may constitute custody:&nbsp; (1) when the person is physically deprived of
his freedom of action in any significant way; (2) when a law enforcement
officer tells the suspect that he cannot leave; (3) when law enforcement
officers create a situation that would lead a reasonable person to believe that
his freedom of movement has been significantly restricted; and (4) when there
is probable cause to arrest and law enforcement officers do not tell the
suspect that he is free to leave.&nbsp; Dowthitt, 931 S.W.2d at 255.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Although
Douthitt stated that she was impelled to sign the statement because community
supervision officers scared me to sign.&nbsp;
If I didnt, then I would go to prison for nine to ten years, there is
no evidence she was physically deprived of freedom, was told she could not
leave, or that a reasonable person would not believe they were free to leave
under these circumstances.&nbsp; Thus, the
record does not indicate that Douthitt was the subject of custodial
interrogation when she signed the written December statement.&nbsp; Accordingly, Article 38.22 and the caselaw
cited by Douthitt neither applied nor prohibited the trial courts
consideration of this statement.&nbsp; Tex. Code Crim. Proc. Ann. art. 38.22,
§ 5 (Vernon 2005) (Nothing in this article precludes the admission of a
statement made by the accused . . . that does not stem from custodial
interrogation . . . .).&nbsp; Even if one
were to assume that the trial court erred in admitting the December written
statement, Douthitt would be unable to establish harm since the ground of
violation in October (which Douthitt admitted was true) was amply sufficient
for the trial court to proceed to adjudication.&nbsp;
See Holmes, 752 S.W.2d at
701.&nbsp; Therefore, we overrule Douthitts
points of error related to the admission of the December written
statement.&nbsp; 

III.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Douthitt Waived Alleged
Vagueness of Community Supervision Condition

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Douthitt
acknowledged her receipt and understanding of the community supervision terms
in writing.&nbsp; She also testified that she
was aware that smoking methamphetamine was a violation of condition two of her
community supervision.&nbsp; Nevertheless, she
argues for the first time on appeal that condition two of the terms of her community
supervision was vague and ambiguous.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; An award of community
supervision is a contractual privilege entered into between a court and
defendant.&nbsp; Speth v. State, 6
S.W.3d 530, 534 (Tex. Crim. App. 1999).&nbsp;
A trial court has broad discretion in determining the conditions of the
supervision.&nbsp; Tex. Code Crim. Proc. Ann. art. 42.12, § 11 (Vernon Supp. 2009).&nbsp; The judge may impose any reasonable
condition that is designed to protect or restore the community, protect or
restore the victim, or punish, rehabilitate, or reform the defendant. &nbsp;Speth, 6 S.W.3d at 533.&nbsp; Conditions of community supervision not
objected to are affirmatively accepted as terms of the contract.&nbsp; Id. at 534.&nbsp; It is well-settled that a defendant cannot
allege that a condition of community supervision is vague for the first time on
appeal.&nbsp; Id. at 535; Heiringhoff
v. State, 130 S.W.3d 117,
13334 (Tex. App.El Paso 2003, no pet.); Margoitta v. State, 10 S.W.3d 416, 418 (Tex.
App.Waco 2000, no pet.).&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Because
there is nothing in the record suggesting Douthitt objected to this condition
when it was imposed in 2008, we conclude that she failed to preserve error on
this point of error.&nbsp; It is overruled.&nbsp;&nbsp;&nbsp; 

IV.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Douthitt Did Not Receive
Ineffective Assistance

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Douthitt
contends her counsel was ineffective because he allowed her to plead true to
violating the community supervision condition, failed to object to the October
statement admitting the same, and failed to request a hearing on the
voluntariness of the December statement.&nbsp;
We start with the rule that any allegation of ineffectiveness must be
firmly founded in the record.&nbsp; Wallace v. State, 75 S.W.3d 576, 589
(Tex. App.Texarkana 2002), affd,
106 S.W.3d 103 (Tex. Crim. App. 2003); Goodspeed
v. State, 187 S.W.3d 390, 392 (Tex. Crim. App. 2005); Thompson v. State, 9 S.W.3d 808, 813 (Tex. Crim. App. 1999).&nbsp; From the record received by this Court, which
does not include counsels reasons for the alleged failures, Douthitt bears the
burden of proving that counsel was ineffective by a preponderance of the
evidence.&nbsp; Goodspeed, 187 S.W.3d at 392; Thompson,
9 S.W.3d at 813; Cannon v. State, 668
S.W.2d 401, 403 (Tex. Crim. App. 1984).&nbsp;
We apply the two-pronged Strickland
test handed down by the United States Supreme Court to determine whether
Douthitt received ineffective assistance of counsel.&nbsp; Strickland
v. Washington, 466 U.S. 668 (1984).&nbsp;
Failure to satisfy either prong of the Strickland test is fatal.&nbsp; Ex parte Martinez, 195 S.W.3d 713, 730
n.14 (Tex. Crim. App. 2006).&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; First,
Douthitt must show counsels performance fell below an objective standard of
reasonableness when considering prevailing professional norms.&nbsp; Strickland,
466 U.S. at 68788.&nbsp; There is a strong
presumption that counsels conduct fell within the wide range of reasonable
professional assistance and that the challenged action could be considered
sound trial strategy.&nbsp; Strickland, 466 U.S. at 689; Ex parte White, 160 S.W.3d 46, 51 (Tex.
Crim. App. 2004); Tong v. State, 25
S.W.3d 707, 712 (Tex. Crim. App. 2000).&nbsp;
Therefore, we will not second guess the strategy of Douthitts counsel
at trial through hindsight.&nbsp; Blott v. State, 588 S.W.2d 588, 592
(Tex. Crim. App. 1979); Hall v. State,
161 S.W.3d 142, 152 (Tex. App.Texarkana 2005, pet. refd).&nbsp; In this case, since the record is silent as
to why counsel failed to make an objection or take certain actions, we will
assume it was due to any strategic motivation that can be imagined.&nbsp; Mata v.
State, 226 S.W.3d 425, 431 (Tex. Crim. App. 2007); Garcia v. State, 57 S.W.3d 436, 440 (Tex. Crim. App. 2001); Fox v. State, 175 S.W.3d 475, 48586
(Tex. App.Texarkana 2005, pet. refd). 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; To
meet the second prong of the Strickland
test, Douthitt must show that the deficient performance damaged her defense
such that there is a reasonable probability that the result of the adjudication
proceeding would have been different.&nbsp; Strickland, 466 U.S. at 687; Tong, 25 S.W.3d at 712.&nbsp; A reasonable probability is a probability sufficient
to undermine confidence in the outcome.&nbsp;
Mitchell v. State, 68 S.W.3d
640, 642 (Tex. Crim. App. 2002).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; When
challenging a plea based on ineffective assistance of counsel, an appellant
must prove that counsels advice was not within the range of competence
demanded of attorneys in criminal cases.&nbsp;
Ex parte Pool, 738 S.W.2d 285,
286 (Tex. Crim. App. 1987). &nbsp;[The] [e]ssential
requisite in attacking a plea . . . on the ground of ineffective assistance of
counsel is showing that the plea of guilty was unknowingly and involuntarily
entered.&nbsp; Ex parte Adams, 707 S.W.2d 646, 648 (Tex. Crim. App. 1986).&nbsp; First, there is nothing in the record
suggesting that Douthitt pled true to the October violation based on counsels
suggestion, as opposed to her own voluntary will.&nbsp; Douthitt had already signed both the October
and December statements prior to his appointment to the case.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Even
had counsel advised the plea of true, absent a record of counsels trial strategy,
we conclude such advice would be within the range of competence considering the
facts.&nbsp; Counsel could have suggested such
a plea in an effort to secure a more lenient sentence from the court, including
a possibility that the court would not adjudicate her guilt and continue her on
community supervision.[2]&nbsp; So far as the second Strickland prong, the record does not support (and Douthitt does
not argue) that but for counsels alleged errors, she would not have pled true
to the October violation, or that the outcome of the proceeding would have been
different.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Next,
Douthitt contends that counsel should have objected to the October written
statement because it was admitted with no predicate being laid thereon.&nbsp; The record demonstrates that Douthitt
testified this exhibit was signed by her, and there was no legitimate challenge
to the documents authenticity.[3]&nbsp; Therefore, because counsel was not required
to object when no proper grounds for objection existed, Douthitt cannot
demonstrate that counsels performance fell below an objective standard of
reasonableness when considering prevailing professional norms.&nbsp; Further, even if the October statement were
not admitted, Douthitt testified at the hearing that she had violated the terms
of her community supervision.&nbsp; Thus, the
second Strickland prong cannot be met
because there was not reasonable probability that the result of the proceeding
would have been different. 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Finally,
we have already decided that Article 38.22 of the Texas Code of Criminal Procedure
did not apply to the December noncustodial written statement given by Douthitt
to her community supervision officers.&nbsp;
Thus, counsel was not required to seek an Article 38.22 voluntariness
hearing with respect to admission of this exhibit.&nbsp; Again, even assuming deficient performance,
Douthitt would be unable to meet Stricklands second prong.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; We
find counsels performance effective and overrule Douthitts last point of
error.&nbsp; 

V.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Conclusion

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; We
affirm the trial courts judgment. 

&nbsp;

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Bailey
C. Moseley

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Justice

&nbsp;

Date Submitted:&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; June 14, 2010

Date Decided:&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; June 21, 2010

&nbsp;

Do Not Publish

&nbsp;











[1]Miranda v. Arizona, 384 U.S. 436 (1990).





[2]In
fact, this appears to be counsels strategy, since Douthitt repeatedly asked
the court for another chance and told the court she was sorry.&nbsp; 

&nbsp;





[3]Further,
the State made clear that community supervision officer Renee Hughes was
available to testify to the authenticity of the October and December written
statements, if necessary.&nbsp;&nbsp; 







